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SL AQ 440 (Rev 04/08) Civil Seni rr

UNITED STATES DISTRICT COURT

for the
Middle District of Louisiana

Emestine Saul, et, al
Plaintiff

Vv.

Keystone RV Company, et, al
Defendant

Civil Action No. 09-cv-210

pel Net Seat at eet

Summons in a Civil Action

To: (Defendant's name and address)
Administrator of FEMA
R-DavidPantison- CLA/G HXGATE
$00 C. Street S.W.
Washington, DC 20472

A lawsuit has been filed against you.

Within 60 days after service of this summons on you (not counting the day you received it), you must serve

on the plaintiff an an: an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attomey, whose name and address are:

Justin 1 Woods, Gainsburgh, Benjamin, David, Maunier & Warshauer, L.L.C. 2800 Energy Centre, 1100 Poydras St.
New Orleans, LA 70163

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Nick J. Lorio
Name of clerk of court

Noor’ A. Soups

Deputy clerk's signature

Date: April 20, 2009

iis io on y the defendant is the Untied States or a United States agency, or ts an officer or employee of the United States allowed 60 days by
soe e .
Case 2:07-md-01873-KDE-MBN Document 14473 Filed 06/22/10 Page 2 of 3
Case 2:09-cv-03620-KDE-ALC Document 8 Filed 04/20/09 Page 2 of 6

% AO 440 (Rev. 04/08) Civil Summons (Page 2)

—E>>=>E>E~“—_~L_— SSeS —_— ee,
Proof of Service

I declare under penalty of perjury that J served the summons and complaint in this case on
by:

(1) personally delivering a copy of each to the individual at this place,

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with
who resides there and is of suitable age and discretion; or

(3)delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

3 OF
(4) returning the summons unexecuted to the court clerk on ,or
(S)other (specify)
My fees are $ for travel and $ for services, for a total of $ 0.00
Date:
Server's signature
Printed name and title

Server's address
Case 2:07-md-01873-KDE-MBN Document 14473 Filed 06/22/10 Page 3 of 3

UNITED STATES PosTAL SERVICE

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Permit No. G-10

Postage & Fees Paid

* Sender: Please print your name, address, and ZIP+4 in this box ®

Justin Woods
Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
1100 Poydras Street, Suite 2800
New Orleans, Louisiana 70163

Formaldehyde 09-3620 Emestine Saul

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bo) Bt ete) laa terra oie ex ne)

@ Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.
@ Print your name and address on the reverse
so that we can return the card to you.
- @ Attach this card to the back of the mailpiece,
or on the front If space permits.

1. Article Addressed to:

Federal Emergency Management Agency
through the Office of the Director
Craig Fugate, Director

erin Miele] epiie) he) ten ash
A Signature AUIS AELELY
OO Agent

X C1 Addressee

B. Received by (Printed Name) C. Date of Delivery
UN O38 Phi

D. Is delivery address different from item 1? 0 Yes
If YES, enter delivery address below: 0 No
“

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500 C Street S.W.
Washington, DC 20472

3. Service Type
OO Certified Mail
CO Registered CO) Retum Receipt for Merchandise
C1 Insured Mail O c.o0.D.

OC Express Mail

4. Restricted Delivery? (Extra Fee) 1 Yes

2. Article Number
(Transfer from service label)

?O08 1430 dO04 115? 2300

PS Form 381 1, February 2004

Domestic Retum Receipt

102585-02-M-1540
